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                    UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                          JUN 24 2022
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
KIM RHODE; et al.,                               No.   20-55437

                Plaintiffs-Appellees,            D.C. No.
                                                 3:18-cv-00802-BEN-JLB
  v.                                             Southern District of California,
                                                 San Diego
ROB BONTA,* in his official capacity as
Attorney General of the State of California,     ORDER

                Defendant-Appellant.

Before: PARKER,** WATFORD, and BUMATAY, Circuit Judges.

       The panel’s previous order, issued March 19, 2021, holding this appeal in

abeyance pending issuance of the mandate in Duncan v. Becerra, No. 19-55376, is

vacated. The parties are directed to file supplemental briefing in light of the

Supreme Court’s decision in New York State Rifle & Pistol Association, Inc. v.

Bruen, No. 20-843. Defendant-Appellant’s supplemental brief shall be filed no

later than 30 days after entry of this order and shall not exceed 10,000 words.

Plaintiffs-Appellees’ supplemental brief shall be filed no later than 30 days after

Defendant-Appellant’s supplemental brief is filed and shall not exceed 10,000


       *
              Pursuant to Federal Rule of Appellate Procedure 43(c)(2), Rob Bonta
is substituted for his predecessor, Xavier Becerra, as Attorney General.
       **
             The Honorable Barrington D. Parker, Jr., United States Circuit Judge
for the U.S. Court of Appeals for the Second Circuit, sitting by designation.
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words. Defendant-Appellant may file an optional supplemental reply brief, which

shall not exceed 5,000 words, no later than 21 days after Plaintiffs-Appellees’

supplemental brief is filed.
